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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK




IN RE ELETROBRAS SECURITIES                      Case No.: 15-cv-5754-JGK
LITIGATION
                                                 JURY TRIAL DEMANDED




                              STIPULATION OF SETTLEMENT




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          This Stipulation of Settlement dated June 29, 2018 (the “Stipulation”), is made and entered

into by and among the following Settling Parties (as defined further in §IV(1)(1.27) below) to the

above-entitled litigation (the “Litigation”): (i) the Lead Plaintiffs Dominique Lavoie and City of

Providence, Rhode Island (as defined further in §IV(1)(1.11) below) (on behalf of themselves and

each of the Settlement Class Members (as defined further in §IV(1)(1.25) below)), by and through

their counsel of record in the Litigation; and (ii) Defendants Centrais Elétricas Brasileiras S.A.

(“Eletrobras”), José da Costa Carvalho Neto, and Armando Casado de Araújo (referred to

collectively as the “Defendants” (defined further in §IV(1.6) below)), by and through their counsel

of record in the Litigation. The Stipulation is intended by the Settling Parties to fully, finally, and

forever resolve, discharge, and settle the Released Claims (as defined further in §IV(1.19) below),

upon and subject to the terms and conditions hereof and subject to the approval of the United States

District Court for the Southern District of New York.

I.        THE LITIGATION

          On and after July 22, 2015, the following actions were filed in the United States District

Court for the Southern District of New York (the “Court”) as putative class actions on behalf of

persons who purchased the publicly traded securities of Eletrobras: (i) Franklin v. Centrais Elétricas

Brasileiras S.A. – Eletrobras, et al., 15-CV-05754-JGK; and (ii) City of Providence, Rhode Island v.

Centrais Elétricas Brasileiras S.A. – Eletrobras, et al., 15-CV-06434-JGK. By order of the Court,

the two actions were consolidated and City of Providence, Rhode Island and Dominique Lavoie were

appointed as Lead Plaintiffs and their choice of counsel was approved by the Court pursuant to the

Private Securities Litigation Reform Act of 1995 (“PSLRA”).

          The operative complaint in the Litigation is the Second Consolidated Amended Class Action

Complaint for Violation of the Federal Securities Laws, filed on February 26, 2016 (the

“Complaint”). The Complaint alleges claims against Defendants for violation of §§10(b) and 20(a)
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of the Securities Exchange Act of 1934, and Securities and Exchange Commission Rule 10b-5

promulgated thereunder.

          On April 15, 2016, Defendants moved to dismiss the Complaint. By Order dated March 27,

2017, the Court granted in part and denied in part Defendants’ motion to dismiss the Complaint.

Defendants answered the Complaint on May 5, 2017. Lead Plaintiffs subsequently served

Defendants with discovery requests and pursued discovery. On June 30, 2017, Plaintiffs filed a

motion for class certification. On October 10, 2017, Defendants opposed Plaintiffs’ motion. On

November 22, 2017, Plaintiffs replied, and the Court later set a hearing for March 12, 2018. On

February 28, 2018, the Court stayed the Action to enable the parties to explore a possible settlement

through mediation.

          On April 27, 2018, the parties conducted an in-person mediation with Jed Melnick, Esq.

(JAMS) when the parties reached an agreement-in-principle to settle this matter for Fourteen Million

Seven Hundred and Fifty Thousand Dollars ($14,750,000), as set forth herein.

II.       CLAIMS OF THE LEAD PLAINTIFFS AND BENEFITS OF
          SETTLEMENT

          Lead Plaintiffs believe that the claims asserted in the Litigation have merit. Lead Counsel,

however, recognize and acknowledge the expense and duration of continued proceedings necessary

to prosecute the Litigation against Defendants through trial and appeals. Lead Counsel also have

taken into account the uncertain outcome and risks in complex actions such as this Litigation, as well

as the difficulties and delays inherent in such litigation. Lead Counsel also are mindful of the

potential problems of proof and possible defenses to the violations asserted in the Litigation. Lead

Counsel believe that the Settlement set forth in this Stipulation confers substantial benefits upon the

Settlement Class. Based on its evaluation, Lead Counsel has determined that the Settlement set forth

in this Stipulation is in the best interests of Lead Plaintiffs and the Settlement Class.


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III.      THE DEFENDANTS’ DENIALS OF WRONGDOING AND LIABILITY

          Defendants have denied and continue to deny each and all of the claims and contentions

alleged by Lead Plaintiffs in the Litigation. Defendants expressly have denied and continue to deny

all charges of wrongdoing or liability against them arising out of any of the conduct, statements, acts,

or omissions alleged, or that could have been alleged, in the Litigation, and maintain that their

conduct was at all times proper and in compliance with applicable provisions of law. Defendants

further deny, inter alia, that they made any material misstatements or omissions in Eletrobras’ public

filings, press releases, or other public statements, that Plaintiffs or the Settlement Class have suffered

any damages, that the prices of Eletrobras securities were artificially inflated by reasons of alleged

misrepresentations, non-disclosures or otherwise, and that Plaintiffs or the Settlement Class were

harmed by any conduct alleged in the Litigation or that could have been alleged therein. Messrs.

Carvalho Neto and Araújo further assert that, at all relevant times, they acted in good faith and in a

manner they reasonably believed to be in the best interests of the Company and its shareholders.

          This Stipulation shall in no event be construed or deemed to be evidence of an admission or

concession on the part of any Defendant with respect to any claim or of any fault, liability,

wrongdoing, or damage whatsoever, or any infirmity in the defenses that Defendants have asserted.

Defendants’ decision to settle the Litigation was based on the conclusion that further conduct of the

Litigation would be protracted and expensive, with the uncertainty and risks inherent in any

litigation, especially in complex cases like this one, and the determination that it is desirable and

beneficial to settle the Litigation in the manner and upon the terms and conditions set forth in this

Stipulation and to put the Released Claims to rest finally and forever, without in any way

acknowledging any wrongdoing, fault, liability, or damages to Plaintiffs and the Settlement Class.




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IV.       TERMS OF STIPULATION AND AGREEMENT OF SETTLEMENT

          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among Lead

Plaintiffs (for themselves and the Settlement Class Members) and Defendants, by and through their

respective counsel of record, that, subject to the approval of the Court, the Litigation and the

Released Claims shall be finally, fully, and forever compromised, settled, and released, and the

Litigation shall be dismissed with prejudice, as to all Settling Parties, upon and subject to the terms

and conditions of the Stipulation, as follows:

          1.       Definitions

          As used in the Stipulation the following terms have the meanings specified below:

          1.1      “Eletrobras” or the “Company” means Centrais Elétricas Brasileiras S.A.

          1.2      “Authorized Claimant” means any Settlement Class Member whose claim for

recovery has been allowed pursuant to the terms of the Stipulation and who submits a valid Proof of

Claim and Release form to the Claims Administrator.

          1.3      “Claims Administrator” means the firm of Epiq Class Action & Claims Solutions,

Inc. located in Portland, Oregon.

          1.4      “Class Period” means the period commencing on August 17, 2010 and ending on

June 24, 2015, inclusive.

          1.5      “Covered Transaction” means any transaction in Eletrobras common and/or preferred

ADSs to which the United States securities laws apply, including as applicable pursuant to the

Supreme Court’s decision in Morrison v. National Australia Bank, 561 U.S. 247 (2010).

          1.6      “Defendants” means Eletrobras, José da Costa Carvalho Neto, and Armando Casado

de Araújo.

          1.7      “Effective Date” means the first date by which all of the events and conditions

specified in ¶8.1 of the Stipulation have been met and have occurred.

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          1.8      “Escrow Agent” means Kahn Swick & Foti, LLC and Kaplan Fox & Kilsheimer, LLP

or its successor(s).

          1.9      “Final” means when the last of the following with respect to the Order and Final

Judgment, substantially in the form of Exhibit B attached hereto, shall occur: (i) the expiration of

three (3) business days after the time for the filing of any motion to alter or amend the Order and

Final Judgment under Federal Rule of Civil Procedure 59(e) without any such motion having been

filed or, if such a motion is filed, an order denying such motion; (ii) the expiration of three (3)

business days after the time for the filing or noticing of any appeal from the Order and Final

Judgment without any appeal or notice of appeal having been filed; and (iii) if such an appeal is filed

or noticed, then three (3) business days after either (a) the Order and Final Judgment has been finally

affirmed, the time for a petition for writ of certiorari to review the Order and Final Judgment has

expired or, if certiorari is granted, the judgment following review pursuant to that grant has been

finally affirmed; or (b) any appeal from the Order and Final Judgment or any proceeding on

certiorari to review the Order and Final Judgment has been finally dismissed. For purposes of this

paragraph, an “appeal” shall include any petition for a writ of certiorari or other writ that may be

filed in connection with approval or disapproval of this Settlement, but shall not include any appeal

that concerns only the issue of attorneys’ fees and expenses or the Plan of Allocation of the

Settlement Fund. Any proceeding or order, or any appeal or petition for a writ of certiorari

pertaining solely to any plan of distribution and/or application for attorneys’ fees, costs, or expenses,

shall not in any way delay or preclude the Order and Final Judgment from becoming Final.

          1.10     “Lead Counsel” means Kahn Swick & Foti, LLC and Kaplan Fox & Kilsheimer, LLP

or its successor(s).

          1.11     “Lead Plaintiffs” means Dominique Lavoie and City of Providence, Rhode Island.



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          1.12     “Notice Order” means the order described in ¶4.1 hereof.

          1.13     “Order and Final Judgment” means the judgment to be rendered by the Court,

substantially in the form attached hereto as Exhibit B.

          1.14     “Person” means an individual, corporation, limited liability corporation, professional

corporation, limited liability partnership, partnership, limited partnership, limited liability company,

association, joint stock company, joint venture, estate, legal representative, trust, unincorporated

association, government or any political subdivision or agency thereof, and any business or legal

entity and all of their respective spouses, heirs, beneficiaries, executors, administrators, predecessors,

successors, representatives, or assignees.

          1.15     “Plaintiffs” means all of the plaintiffs that have appeared in the Litigation.

          1.16     “Plaintiffs’ Counsel” means any counsel who have appeared for any of the Plaintiffs

in the Litigation.

          1.17     “Plan of Allocation” means a plan or formula of allocation of the Settlement Fund

whereby the Settlement Fund shall be distributed to Authorized Claimants after payment of expenses

of notice and administration of the Settlement, Taxes and Tax Expenses, and such attorneys’ fees,

costs, expenses, and interest as may be awarded by the Court. Any Plan of Allocation is not part of

the Stipulation, and Defendants and their Related Parties shall have no responsibility or liability with

respect thereto.

          1.18     “Related Parties” means, with respect to each defendant named in this Litigation

(whether or not served with process), the immediate family members, heirs, executors, estates,

administrators, successors, assigns, present and former employees, officers, directors, general

partners, limited partners, controlling shareholders, attorneys, accountants or auditors, assigns,

personal or legal representatives, underwriters, insurers, co-insurers, reinsurers, and agents of each of



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them, and any Person which is or was related to or affiliated with any Defendant or in which any

Defendant has or had a controlling interest, and the present and former parents, subsidiaries,

divisions, joint ventures, affiliates, specific or special purpose entities (including those identified in

any complaint in this Litigation), predecessors, successors, general partners, limited partners,

controlling shareholders, employees, accountants or auditors, officers, directors, attorneys, assigns,

personal or legal representatives, insurers, co-insurers, reinsurers, and agents of each of them.

          1.19     “Released Claims” means any and all rights, debts, demands, claims (including

“Unknown Claims” as defined in ¶1.28 below) or causes of action or liabilities whatsoever

(including, but not limited to, any claims for damages, restitution, rescission, interest, attorneys’

fees, expert or consulting fees, and any other costs, expenses or liability whatsoever), whether based

on federal, state, local, statutory, common law, foreign law, or any other law, rule, or regulation,

whether fixed or contingent, accrued or unaccrued, liquidated or unliquidated, at law or in equity,

matured or unmatured, including, without limitation, claims arising under the securities laws of the

United States or any state in the United States, whether class and/or individual in nature, including

both known claims and unknown claims, whether or not concealed or hidden, that (a) Lead Plaintiffs

or any member of the Settlement Class asserted, or could have asserted in this Litigation against any

of the Released Persons; or (b) could have been asserted in this Litigation, or in any other action or

forum by Lead Plaintiffs and/or the Settlement Class Members (or any person who inherited or

otherwise acquired Eletrobras ADSs from a Settlement Class Member) against any of the Released

Persons which arise out of, are based upon, or are in any way related, directly or indirectly, to the

purchase, acquisition, disposition, sale or retention of, or other transaction in, Eletrobras publicly

traded ADSs during the Class Period, or to the facts, matters, allegations, transactions, events,

disclosures, statements, acts or occurrences, representations or omissions involved, set forth, or



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referred to in the Complaint or that could have been alleged in the Complaint, including without

limitation, claims that arise out of or relate to any disclosures, Securities and Exchange Commission

filings, press releases, registration statements, offering memoranda, or other public statements by or

on behalf of Eletrobras during the Settlement Class Period.

          1.20     “Released Persons” means any and all of the Defendants, and each and all of their

Related Parties.

          1.21     “Settled Defendants’ Claims” means all claims, demands, losses, rights, and causes of

action of any nature whatsoever, that have been or could have been asserted in the Litigation or any

forum by the Defendants or any of them or the successors and assigns of any of them against the

Lead Plaintiffs, Class Members, or Plaintiffs’ Counsel, which arise out of or relate in any way to the

institution, prosecution, assertion, settlement, or resolution of the Litigation (except for claims to

enforce the Settlement); for the avoidance of doubt, “Settled Defendants’ Claims” does not include

any rights or claims of Defendants against their insurers, or their insurers’ subsidiaries, predecessors,

successors, assigns, affiliates, or representatives, under or related to any policies of insurance.

          1.22     “Settlement” means the settlement of the Litigation as set forth in this Stipulation.

          1.23     “Settlement Amount” means the principal amount of Fourteen Million Seven

Hundred Fifty Thousand Dollars ($14,750,000.00) to be paid pursuant to ¶2.1 of this Stipulation.

Defendants shall not have any obligation whatsoever to pay any amount over and above the principal

amount of Fourteen Million Seven Hundred Fifty Thousand Dollars ($14,750,000.00).

          1.24     “Settlement Class” means all Persons who purchased or otherwise acquired

Eletrobras common and/or preferred American Depositary Shares (“ADSs”) (trading symbols EBR

and EBR.B, respectively) either on a United States exchange or pursuant to other Covered

Transactions between August 17, 2010 and June 24, 2015, inclusive. Excluded from the Settlement



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Class is anyone named as a Defendant in this action; members of the immediate family of any such

Defendant; any entity in which any such Defendant or family member has or had a controlling

interest; the former and current officers and directors of Eletrobras; or the legal affiliates,

representatives, controlling persons, predecessors-in-interest, heirs, assigns, or any other successors-

in-interest of any such excluded party. Also excluded from the Settlement Class are those Persons

who have timely and validly requested exclusion from the Settlement Class pursuant to the “Notice

of Pendency and Proposed Settlement of Class Action” sent to potential Settlement Class Members.

          1.25   “Settlement Class Member” or “Settlement Class Members” mean any Person who

falls within the definition of the Settlement Class as set forth in ¶1.24 of the Stipulation.

          1.26   “Settlement Fund” means the interest-bearing escrow account into which the

Settlement Amount is to be paid. The Settlement Fund shall include the Settlement Amount plus

any interest that may accrue thereon as provided for herein.

          1.27   “Settling Parties” means, collectively, each of the Defendants and the Lead Plaintiffs

on behalf of themselves and each of the Settlement Class Members.

          1.28   “Unknown Claims” means any of the claims that Lead Plaintiffs or any Settlement

Class Member does not know or suspect to exist in such party’s favor at the time of the release of the

Released Persons which, if known by such party, might have affected such party’s settlement with

and release of the Released Persons, or might have affected such party’s decisions with respect to

this Settlement, including the decision not to object to this Settlement. With respect to any and all

Released Claims, upon the Effective Date, the Lead Plaintiffs shall expressly waive and relinquish,

and the Settlement Class Members shall be deemed to have, and by operation of the Order and Final

Judgment shall have, expressly waived and relinquished, the provisions, rights, and benefits of

California Civil Code §1542, which provides:



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          A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
          CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
          FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN
          BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS OR HER
          SETTLEMENT WITH THE DEBTOR.

Lead Plaintiffs shall expressly waive and relinquish, and the Settlement Class Members shall be

deemed to have, and by operation of the Order and Final Judgment shall have, expressly waived and

relinquished, any and all provisions, rights, and benefits conferred by any law of any state or

territory of the United States, or principle of common law, which is similar, comparable or

equivalent to California Civil Code §1542. Lead Plaintiffs and the Settlement Class Members may

hereafter discover facts in addition to or different from those which such party now knows or

believes to be true with respect to the subject matter of the Released Claims, but Lead Plaintiffs upon

the Effective Date shall expressly fully, finally, and forever settle and release, and the Settlement

Class Members, upon the Effective Date, shall be deemed to have, and by operation of the Order and

Final Judgment shall have, fully, finally, and forever settled and released any and all Released

Claims, known or unknown, suspected or unsuspected, contingent or non-contingent, whether or not

concealed or hidden, that now exist, or heretofore have existed, upon any theory of law or equity

now existing or coming into existence in the future, including, but not limited to, conduct that is

negligent, reckless, intentional, with or without malice, or a breach of any duty, law or rule, without

regard to the subsequent discovery or existence of such different or additional facts. Plaintiffs

acknowledge, and the Settlement Class Members shall be deemed by operation of the Order and

Final Judgment to have acknowledged, that the inclusion of Unknown Claims in the definition of

Released Claims is a separately bargained for and a key element of the Settlement of which this

release is a material and essential part.




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          2.    The Settlement

                a.     The Settlement Fund

          2.1   In full settlement of the Released Claims, Eletrobras shall pay or cause to be paid the

Settlement Amount, as follows: Following the later of: (a) twenty (20) business days from the

Court’s entry of the Notice Order preliminarily approving the Settlement; and (b) Defendants’

receipt of all required payment information from Lead Counsel, including adequate wire instructions

and a completed Form W-9, Eletrobras shall deposit or cause to be deposited the Settlement Amount

into the Settlement Fund. If the entire Settlement Amount is not timely transferred to an account or

accounts established by the Escrow Agent, Plaintiffs may terminate the Settlement if (i) Lead

Counsel has notified Defendants’ counsel in writing of Lead Counsel’s intention to terminate the

Settlement, and (ii) the entire Settlement Amount is not transferred to the account or accounts

established by the Escrow Agent within ten (10) days after Lead Counsel has provided such written

notice.

                b.     The Escrow Agent

          2.2   The Escrow Agent shall invest any funds in excess of $250,000 deposited into the

Settlement Fund pursuant to ¶2.1 above in short-term United States Agency or Treasury Securities

(or a mutual fund invested solely in such instruments) and shall collect and reinvest all interest

accrued thereon in the same instruments. Any funds held in escrow in an amount of less than or

equal to $250,000 may be held in an interest bearing bank account insured by the FDIC. All risks

related to the investment of the Settlement Fund in accordance with the investment guidelines set

forth in this paragraph shall be borne by the Settlement Fund, and the Released Persons shall have no

responsibility for, interest in, or liability whatsoever with respect to investment decisions or the

actions of the Escrow Agent, or any transactions executed by the Escrow Agent.



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          2.3   The Escrow Agent shall not disburse the Settlement Fund except as provided in the

Stipulation, by an order of the Court, or with the prior written agreement among Lead Counsel and

counsel for Defendants.

          2.4   Subject to further order and/or direction as may be made by the Court, the Escrow

Agent is authorized to execute such transactions on behalf of the Settlement Class Members as are

consistent with the terms of the Stipulation.

          2.5   All funds held by the Escrow Agent shall be deemed and considered to be in custodia

legis, and shall remain subject to the jurisdiction of the Court, until such time as such funds shall be

distributed pursuant to the Stipulation and/or further order(s) of the Court.

          2.6   Within five (5) days after payment of the Settlement Amount to the Escrow Agent

pursuant to ¶2.1 hereof, the Escrow Agent may establish a “Notice and Administration Fund,” and

may deposit up to $250,000 from the Settlement Fund in it. The Notice and Administration Fund

may be used by the Escrow Agent without further consent of Defendants or order of the Court to pay

costs and expenses reasonably and actually incurred in connection with providing notice to the

Settlement Class, locating Settlement Class Members, soliciting claims, assisting with the filing of

claims, administering and distributing the Settlement Fund to Authorized Claimants, processing

Proof of Claim and Release forms, and paying escrow fees and costs, if any. The Notice and

Administration Fund may also be invested and earn interest as provided for in ¶2.2 of this

Stipulation.

          2.7   Lead Counsel shall pay from the Settlement Fund, without further approval from

Defendants or the Court, the reasonable costs and expenses associated with identifying members of

the Settlement Class and effecting mail notice and publication notice to the Settlement Class, and the

administration of the Settlement, including, without limitation, the actual costs of publication,



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printing and mailing the Notice, reimbursements to nominee owners for forwarding notice to their

beneficial owners, and the administrative expenses incurred and fees charged by the Claims

Administrator in connection with providing notice and processing the submitted claims, provided

that the foregoing costs and expenses shall not exceed $250,000. To the extent the foregoing costs

and expenses do exceed $250,000, prior to the Effective Date, Lead Counsel shall apply to the Court

for an order allowing for reimbursement from the Settlement Fund of the foregoing costs and

expenses in excess of $250,000.

                c.          Taxes

          2.8   (a)         The Settling Parties and their counsel agree that the Settlement Fund is

intended to be a “qualified settlement fund” within the meaning of Treas. Reg. §1.468B-1. The

Settling Parties and their counsel agree that the Settlement Fund should at all times be treated as

being a “qualified settlement fund” within the meaning of Treas. Reg. § 1.468B-1. In addition, the

Escrow Agent shall timely make such elections as necessary or advisable to carry out the provisions

of this ¶2.8, including the “relation-back election” (as defined in Treas. Reg. §1.468B-1(j)(2)) back

to the earliest permitted date. Such elections shall be made in compliance with the procedures and

requirements contained in such Treasury regulations promulgated under §1.468B of the Internal

Revenue Code of 1986, as amended (the “Code”). It shall be the responsibility of the Escrow Agent

to timely and properly prepare and deliver the necessary documentation for signature by all

necessary parties, and thereafter to cause the appropriate filing to occur.

                      (b)      For the purpose of §1.468B of the Code and the Treasury regulations

     promulgated thereunder, the Escrow Agent shall be designated as the “administrator” of the

     Settlement Fund. The Escrow Agent shall timely and properly file all informational and other

     tax returns necessary or advisable with respect to the Settlement Fund (including, without

     limitation, the returns described in Treas. Reg. §1.468B-2(k)). Such returns (as well as the
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     election described in ¶2.8(a) hereof) shall be consistent with this ¶2.8 and in all events shall

     reflect that all Taxes as defined in ¶2.8(c) hereof (including any estimated Taxes, interest, or

     penalties) on the income earned by the Settlement Fund shall be paid out of the Settlement Fund

     as provided in ¶2.8(c) hereof.

                    (c)     All: (a) taxes (including any estimated taxes, interest, or penalties) arising

     with respect to the income earned by the Settlement Fund, including any taxes or tax detriments

     that may be imposed upon Defendants or their Related Parties with respect to any income earned

     by the Settlement Fund for any period during which the Settlement Fund does not qualify as a

     “qualified settlement fund” for federal or state income tax purposes (“Taxes”); and (b) expenses

     and costs incurred in connection with the operation and implementation of this ¶2.8 (including,

     without limitation, expenses of tax attorneys and/or accountants and mailing and distribution

     costs and expenses relating to filing (or failing to file) the returns described in this ¶2.8) (“Tax

     Expenses”), shall be paid out of the Settlement Fund. In no event shall Defendants or their

     Related Parties have any responsibility for or liability with respect to the Taxes or the Tax

     Expenses. The Escrow Agent shall indemnify and hold each of the Defendants and their Related

     Parties harmless for Taxes and Tax Expenses (including, without limitation, Taxes payable by

     reason of any such indemnification). Further, Taxes and Tax Expenses shall be treated as, and

     considered to be, a cost of administration of the Settlement Fund and shall be timely paid by the

     Escrow Agent out of the Settlement Fund without prior order from the Court, and the Escrow

     Agent shall be obligated (notwithstanding anything herein to the contrary) to withhold from

     distribution to Authorized Claimants any funds necessary to pay such amount, including the

     establishment of adequate reserves for any Taxes and Tax Expenses (as well as any amounts that

     may be required to be withheld under Treas. Reg. §1.468B-2(1)(2)); neither Defendants nor their



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     Related Parties are responsible therefor nor shall they have any liability with respect thereto.

     The Settling Parties hereto agree to cooperate with the Escrow Agent, each other, and their tax

     attorneys and accountants to the extent reasonably necessary to carry out the provisions of this

     ¶2.8.

                    (d)      For the purpose of this ¶2.8, references to the Settlement Fund shall

     include both the Settlement Fund and the Notice and Administration Fund and shall also include

     any earnings thereon.

          3.    Termination of Settlement

          3.1   In the event that the Stipulation is not approved, or is terminated, canceled, or fails to

become effective for any reason, including, without limitation, in the event the Order and Final

Judgment is reversed or vacated following any appeal taken therefrom, or is successfully collaterally

attacked, the Settlement Fund (including accrued interest), less reasonable expenses actually incurred

or due and owing from the Settlement Fund for the notice and administration of the Settlement

pursuant to ¶2.7 above, shall be refunded pursuant to written instructions from Eletrobras to the

Escrow Agent in accordance with ¶8.6 herein.

          4.    Notice Order and Settlement Hearing

          4.1   Promptly after execution of the Stipulation, the Settling Parties shall submit the

Stipulation together with its Exhibits to the Court, and Lead Counsel shall apply for entry of an order

(the “Notice Order”), substantially in the form and content of Exhibit A attached hereto, requesting,

inter alia, the preliminary approval of the Settlement set forth in the Stipulation, approval for the

mailing of the Notice of Pendency and Proposed Settlement of Class Action (the “Notice”),

substantially in the form of Exhibit A-1 attached hereto, and approval of the publication of a

Summary Notice, substantially in the form of Exhibit A-2 attached hereto. The Notice shall include

the general terms of the Settlement set forth in the Stipulation, the proposed Plan of Allocation, the

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general terms of the Fee and Expense Application as defined in ¶7.1 below, and the date of the

Settlement Hearing as defined in ¶4.2 below.

          4.2   The Settling Parties agree to request that, after notice is given and not earlier than 90

days after the later of the dates on which the appropriate Federal official and the appropriate State

officials are served with notice, the Court hold a hearing (the “Settlement Hearing”) and finally

approve the Settlement of the Litigation as set forth herein. At or after the Settlement Hearing, Lead

Counsel also will request that the Court approve the proposed Plan of Allocation and the Fee and

Expense Application. Pursuant to the Class Action Fairness Act (“CAFA”), no later than ten (10)

calendar days after this Settlement Agreement is filed with the Court, Defendants shall serve proper

notice of the proposed Settlement upon those who are entitled to such notice pursuant to CAFA.

Defendants shall bear the cost of serving the CAFA notice.

          4.3   Except for their obligation to pay or cause payment of the Settlement Amount into the

Settlement Fund as set forth herein, and to use best efforts to provide Lead Plaintiffs with

information from Eletrobras’ shareholder transfer records, if any, with respect to the identification of

Settlement Class Members, Defendants and their Related Parties shall have no liability, obligation or

responsibility for the administration of the Settlement or disbursement of the Net Settlement Fund, as

defined below in ¶6.2(d) below.

          5.    Releases and Covenant Not to Sue

          5.1   Upon the Effective Date, as defined in ¶1.7 hereof, the Lead Plaintiffs, each and all of

the Settlement Class Members and anyone claiming through or on behalf of any of them, and

Plaintiffs’ Counsel shall be deemed to have, and by operation of the Order and Final Judgment shall

have, fully, finally, and forever waived, released, relinquished, discharged, and dismissed all

Released Claims against all Released Persons, and shall forever be barred and enjoined from

commencing, instituting, intervening in or participating in, prosecuting or continuing to prosecute
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any action or other proceeding in any court of law or equity, arbitration tribunal, or administrative

forum, or other forum of any kind or character (whether brought directly, in a representative

capacity, derivatively, or in any other capacity), that asserts any of the Released Claims against any

of the Released Persons, regardless of whether such Settlement Class Member executes and delivers

a Proof of Claim and Release, and whether or not such Settlement Class Member shares in the

Settlement Fund.

          5.2   Upon the Effective Date, as defined in ¶1.7 hereof, each of the Defendants shall be

deemed to have, and by operation of the Order and Final Judgment shall have, fully, finally, and

forever released, relinquished, and discharged Lead Plaintiff, each and all of the Settlement Class

Members, and Plaintiffs’ Counsel from all Settled Defendants’ Claims, and shall be forever barred

and enjoined from commencing, instituting, intervening in or participating in, prosecuting or

continuing to prosecute any action or other proceeding in any court of law or equity, arbitration

tribunal, or administrative forum, or other forum of any kind or character (whether brought directly,

in a representative capacity, derivatively, or in any other capacity), that asserts any of the Settled

Defendants’ Claims against Lead Plaintiff, any of the Settlement Class Members, or Plaintiffs’

Counsel.

          5.3   Lead Plaintiffs, each and all of the Settlement Class Members, and Plaintiffs’ Counsel

agree and covenant not to file or pursue any of the Released Claims against any Released Persons

between the date of this Stipulation and the Effective Date. The Settling Parties agree that, if the

Settlement does not become Final, the period of time between the date of this Stipulation and the

date that Defendants became aware that the Settlement would not become Final shall not be counted

for purposes of any defense based on passage of time.




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          6.    Administration and Calculation of Claims, Final Awards, and
                Supervision and Distribution of Settlement Fund

          6.1   The Claims Administrator, subject to such supervision and direction of the Court

and/or Lead Counsel as may be necessary or as circumstances may require, shall administer and

calculate the claims submitted by Settlement Class Members and shall oversee distribution of the

Net Settlement Fund (defined below) to Authorized Claimants.

          6.2   The Settlement Fund shall be applied as follows:

                    (a)    to pay all the costs and expenses reasonably and actually incurred in

     connection with providing notice, locating Settlement Class Members, soliciting Settlement

     Class claims, assisting with the filing of claims, administering and distributing the Net

     Settlement Fund to Authorized Claimants, processing Proof of Claim and Release forms, and

     paying escrow fees and costs, if any;

                    (b)    to pay the Taxes and Tax Expenses described in ¶2.8 above;

                    (c)    to pay Plaintiffs’ Counsel’s attorneys’ fees, expenses, and costs with

     interest thereon (the “Fee and Expense Award”) and Lead Plaintiffs’ expenses, if and to the

     extent allowed by the Court; and

                    (d)    to distribute the balance of the Settlement Fund (the “Net Settlement

     Fund”) to Authorized Claimants as allowed by the Stipulation, the Plan of Allocation, or the

     Court.

          6.3   Upon the Effective Date and thereafter, and in accordance with the terms of the

Stipulation, the Plan of Allocation, or such further approval and further order(s) of the Court as may

be necessary or as circumstances may require, the Net Settlement Fund shall be distributed to

Authorized Claimants, subject to and in accordance with the following:




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                    (a)     Each Settlement Class Member shall be required to submit a Proof of

     Claim and Release form, substantially in a form approved by the Court, supported by such

     documents as are designated therein, including proof of the transactions claimed, or such other

     documents or proof as the Claims Administrator, in its discretion, may deem acceptable;

                    (b)     All Proof of Claim and Release forms must be submitted by the date

     specified in the Notice unless such period is extended by order of the Court. Any Settlement

     Class Member who fails to submit a Proof of Claim and Release form by such date shall be

     forever barred from receiving any payment pursuant to this Stipulation (unless, by order of the

     Court, a later-submitted Proof of Claim and Release form by such Settlement Class Member is

     approved), but shall in all other respects be bound by all of the terms of this Stipulation and the

     Settlement, including the terms of the Order and Final Judgment to be entered in the Litigation

     and the releases provided for herein, and will be barred from bringing any action against the

     Released Persons concerning the Released Claims. A Proof of Claim and Release form shall be

     deemed to have been submitted when posted, if received with a postmark indicated on the

     envelope and if mailed by first-class mail and addressed in accordance with the instructions

     thereon. In all other cases, the Proof of Claim and Release form shall be deemed to have been

     submitted when actually received by the Claims Administrator. Notwithstanding the foregoing,

     Lead Counsel may, in its discretion, accept for processing late submitted claims so long as the

     distribution of the Net Settlement Fund to Authorized Claimants is not materially delayed;

                    (c)     Each Proof of Claim and Release form shall be submitted to and reviewed

     by the Claims Administrator, who shall determine in accordance with this Stipulation and the

     approved Plan of Allocation the extent, if any, to which each claim shall be allowed, subject to

     review by the Court pursuant to subparagraph (e) below;



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                     (d)     Proof of Claim and Release forms that do not meet the submission

     requirements may be rejected. Prior to rejection of a Proof of Claim and Release form, the

     Claims Administrator shall communicate with the claimant in order to remedy the curable

     deficiencies in the Proof of Claim and Release form submitted. The Claims Administrator shall

     notify, in a timely fashion and in writing, all claimants whose Proof of Claim and Release forms

     it proposes to reject in whole or in part, setting forth the reasons therefor, and shall indicate in

     such notice that the claimant whose claim is to be rejected has the right to a review by the Court

     if the claimant so desires and complies with the requirements of subparagraph (e) below;

                     (e)     If any claimant whose claim has been rejected in whole or in part desires

     to contest such rejection, the claimant must, within twenty (20) days after the date of mailing of

     the notice required in subparagraph (d) above, serve upon the Claims Administrator a notice and

     statement of reasons indicating the claimant’s grounds for contesting the rejection, along with

     any supporting documentation, and requesting a review thereof by the Court. If a dispute

     concerning a claim cannot be otherwise resolved, Lead Counsel shall thereafter present the

     request for review to the Court; and

                     (f)     The Net Settlement Fund shall be distributed to the Authorized Claimants

     substantially in accordance with the Plan of Allocation described in the Notice and approved by

     the Court.

          6.4     Except for their obligation to pay or cause payment of the Settlement Amount into the

Settlement Fund as set forth herein, and to cooperate in the production of information with respect to

the identification of Settlement Class Members from Eletrobras’ shareholder transfer records, as

provided herein, Defendants and their Related Parties shall have no responsibility for, interest in, or

liability whatsoever with respect to the investment or distribution of the Settlement Fund, the Plan of



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Allocation, the determination, administration, or calculation of claims, the payment or withholding

of Taxes or Tax Expenses, or any losses incurred in connection therewith.

          6.5   No Person shall have any claim against Lead Plaintiffs, the Escrow Agent, Plaintiffs’

Counsel or any claims administrator, or Defendants, their Related Parties, or their counsel based on

distributions made substantially in accordance with the Stipulation and the Settlement contained

herein, the Plan of Allocation, or further order(s) of the Court.

          6.6   If there is any balance remaining in the Net Settlement Fund after six (6) months from

the date of distribution of the Net Settlement Fund (whether by reason of tax refunds, uncashed

checks, or otherwise), then, after the Claims Administrator has made reasonable and diligent efforts

to have Settlement Class Members who are entitled to participate in the distribution of the Net

Settlement Fund cash their distributions, any balance remaining shall be re-distributed among

Authorized Claimants in an equitable and economic manner and any remainder donated to an

appropriate non-profit organization selected by Lead Counsel.

          6.7   It is understood and agreed by the Settling Parties that any proposed Plan of

Allocation of the Net Settlement Fund including, but not limited to, any adjustments to an

Authorized Claimant’s claim set forth therein, is not a necessary term of the Stipulation and is to be

considered by the Court separately from the Court’s consideration of the fairness, reasonableness,

and adequacy of the Settlement set forth in the Stipulation, and any order or proceeding relating to

the Plan of Allocation shall not operate to terminate or cancel the Stipulation or affect the finality of

the Court’s Order and Final Judgment approving the Stipulation and the Settlement set forth therein,

or any other orders entered pursuant to the Stipulation.

          7.    Plaintiffs’ Counsel’s Attorneys’ Fees and Expenses

          7.1   Lead Counsel may submit an application or applications (the “Fee and Expense

Application”) for distributions to it from the Settlement Fund for: (a) an award of attorneys’ fees
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from the Settlement Fund; (b) payment of expenses and costs incurred in connection with

prosecuting the Litigation; (c) any interest on such attorneys’ fees, costs, and expenses at the same

rate and for the same periods as earned by the Settlement Fund; and (d) reimbursement for the

expenses of Lead Plaintiffs, pursuant to 15 U.S.C. §78u-4(a)(4). Lead Counsel reserves the right to

make additional applications for fees and expenses incurred to be paid out of the Settlement Fund.

          7.2   The attorneys’ fees, expenses, and costs, including the fees of experts and consultants,

as awarded by the Court, shall be paid to Lead Counsel from the Settlement Fund, as ordered, five

(5) days after the Court executes an order awarding such fees and expenses. Lead Counsel shall

thereafter allocate, subject to the conditions below, the attorneys’ fees amongst Plaintiffs’ Counsel in

a manner in which it in good faith believes reflects the contributions of such counsel to the

prosecution and settlement of the Litigation. In the event that the Effective Date does not occur, or

the Order and Final Judgment or the order making the Fee and Expense Award is reversed or

modified, or the Stipulation is canceled or terminated for any other reason, and in the event that the

Fee and Expense Award has been paid to any extent, then Plaintiffs’ Counsel, including their law

firms, partners, and/or shareholders, shall within five (5) business days from receiving notice from

Defendants’ counsel or from a court of appropriate jurisdiction, refund to the Settlement Fund the

fees, expenses, and costs previously paid to them from the Settlement Fund plus interest thereon at

the same rate as earned on the Settlement Fund in an amount consistent with such reversal or

modification. Each such Plaintiffs’ Counsel’s law firm, as a condition of receiving such fees and

expenses, on behalf of itself and each partner and/or shareholder of it, agrees that the law firm and its

partners and/or shareholders are subject to the jurisdiction of the Court for the purpose of enforcing

the provisions of this paragraph.




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           7.3   Any appeal from any order relating to the Fee and Expense Application or reversal or

modification thereof, shall not operate to terminate or cancel the Stipulation, or affect or delay the

finality of the Order and Final Judgment approving the Stipulation and the Settlement of the

Litigation set forth herein.

           7.4   Defendants and their Related Parties shall have no responsibility for, and no liability

whatsoever with respect to, any payment to Plaintiffs’ Counsel, from the Settlement Fund or

otherwise.

           7.5   Defendants and their Related Parties shall have no responsibility for, and no liability

whatsoever with respect to, the allocation among Plaintiffs’ Counsel, and/or any other Person who

may assert some claim thereto, of any Fee and Expense Award that the Court may make in the

Litigation.

           8.    Conditions of Settlement, Effect of Disapproval, Cancellation or
                 Termination

           8.1   The Effective Date of the Stipulation shall be conditioned on the occurrence of all of

the following events:

                    (a)        The Settlement Amount has been paid, as required by ¶2.1 above;

                    (b)        the Court has entered the Notice Order, as required by ¶4.1 hereof;

                    (c)        the Court has approved this Stipulation, following notice to the Settlement

     Class Members and the Settlement Hearing, as prescribed by Rule 23 of the Federal Rules of

     Civil Procedure;

                    (d)        the Court has entered the Order and Final Judgment, or a judgment

     substantially in the form of Exhibit B attached hereto;

                    (e)        the Order and Final Judgment has become Final, as defined in ¶1.9 hereof;

     and


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                    (f)     the Settlement has not been terminated by any of the parties hereto.

          8.2   Upon the occurrence of all of the events referenced in ¶8.1 hereof, any and all

remaining interest or right of Defendants in or to the Settlement Fund, if any, shall be absolutely and

forever extinguished. If it becomes clear that any of the conditions specified in ¶8.1 hereof cannot or

will not be met, then the Stipulation shall be canceled and terminated subject to ¶8.3 hereof unless

Lead Counsel and counsel for Eletrobras mutually agree in writing to otherwise proceed with the

Settlement.

          8.3   The Settling Parties shall have the right to terminate the Settlement and this

Stipulation by providing written notice of their election to do so (“Termination Notice”) to all other

parties hereto within thirty (30) days of: (a) the Court’s declining to enter the Notice Order in any

material respect; (b) the Court’s refusal to approve this Stipulation or any material part of it; (c) the

Court’s declining to enter the Order and Final Judgment in any material respect; (d) the date upon

which the Order and Final Judgment is modified or reversed in any material respect by the Court of

Appeals or the Supreme Court; or (e) as otherwise set forth in the Settling Parties’ supplemental

agreement (the “Supplemental Agreement”).

          8.4   As set forth in the Supplemental Agreement, Defendants shall have the option to

terminate the Settlement in the event that Settlement Class Members who purchased in the aggregate

more than a certain number of Eletrobras ADSs during the Class Period choose to exclude

themselves from the Settlement Class. The Supplemental Agreement will not be filed with the Court

unless requested by the Court or unless a dispute among the Settling Parties concerning its

interpretation or application arises and in that event, the parties shall request that the Supplemental

Agreement be filed and maintained by the Court under seal. Although the terms of the Supplemental

Agreement are not explicitly set forth herein, they are a material and integral part of this Agreement.



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          8.5   The Settlement Hearing shall be held at a date and time convenient to the Court, at the

United States District Court for the Southern District of New York, 500 Pearl Street, New York, NY

10007-1312 or at such other location as determined by the Court, to determine whether the proposed

Settlement of the Litigation on the terms and conditions provided for in this Stipulation is fair,

reasonable, and adequate as to the Settlement Class and should be approved by the Court; whether an

Order and Final Judgment as provided in ¶1.13 should be entered herein; whether the proposed Plan

of Allocation should be approved; and to determine the amount of fees and expenses that should be

awarded to Plaintiffs’ Counsel.

          8.6   Unless otherwise ordered by the Court, in the event the Stipulation is terminated, or is

canceled, or shall not become effective for any reason, within five (5) business days after written

notification of such event is sent by counsel for Defendants or Lead Counsel to the Escrow Agent,

subject to the terms of ¶3.1 hereof, the Settlement Fund (including accrued interest), less any

expenses and any costs which have either been properly disbursed pursuant to ¶2.6 or ¶2.7 hereof or

are determined to be chargeable to the Settlement Fund for the notice and administration of the

Settlement pursuant to ¶2.7 herein, shall be refunded by the Escrow Agent to Eletrobras plus accrued

interest attributable to that amount by wire transfer pursuant to written instructions from counsel for

Defendants. At the request of counsel for Defendants, the Escrow Agent or its designee shall apply

for any tax refund owed to the Settlement Fund and pay the proceeds, after deduction of any fees or

expenses reasonably incurred in connection with such application(s) for refund, to Defendants.

          8.7   In the event that the Stipulation is not approved by the Court or the Settlement set

forth in the Stipulation is terminated or fails to become effective in accordance with its terms, the

Settling Parties shall be restored to their respective positions in the Litigation immediately prior to

the execution of this Stipulation. In such event, the terms and provisions of the Stipulation, with the



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exception of ¶¶3.1, 7.2 - 7.4, 8.4 - 8.8, 9.1, 10.1, 11.4 hereof, shall have no further force and effect

with respect to the Settling Parties and shall not be used in the Litigation or in any other proceeding

for any purpose, and any judgment or order entered by the Court in accordance with the terms of the

Stipulation shall be treated as vacated, nunc pro tunc. No order of the Court or modification or

reversal on appeal of any order of the Court concerning the Plan of Allocation or the amount of any

attorneys’ fees, costs, expenses, and interest awarded by the Court to Lead Plaintiffs or Plaintiffs’

Counsel shall constitute grounds for cancellation or termination of the Stipulation.

          8.8   If the Effective Date does not occur, or if the Stipulation is terminated pursuant to its

terms, neither Lead Plaintiffs nor Plaintiffs’ Counsel shall have any obligation to repay any amounts

actually and properly disbursed from the Settlement Fund for the notice and administration of the

Settlement pursuant to ¶¶2.6-2.7 hereof. In addition, any expenses already incurred and properly

chargeable to the Settlement Fund for the notice and administration of the Settlement pursuant to

¶¶2.6-2.7 hereof at the time of such termination or cancellation, but which have not been paid, shall

be paid by the Escrow Agent in accordance with the terms of the Stipulation prior to the balance

being refunded in accordance with ¶8.6 hereof.

          9.    Class Certification

          9.1   For purposes of this Stipulation and Settlement only, and subject to approval of the

Court in accordance with Rule 23(e) of the Federal Rules of Civil Procedure, the Settling Parties

stipulate to certification of the Settlement Class, as defined herein, and the appointment of Lead

Plaintiffs as class representatives of the Settlement Class. In the event that the Settlement upon the

terms and conditions set forth in this Stipulation is not approved by the Court, is terminated, or the

Effective Date (see ¶1.7 above) does not occur for any reason, the certification of the Settlement

Class automatically shall be revoked without requiring any additional action by the Settling Parties

or the Court, and the Settling Parties shall be restored nunc pro tunc to their respective positions in
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the Litigation immediately preceding the date of this Stipulation. In such event, Defendants reserve

their right to object for any and all reasons to the certification of any class or sub-class or to the

appointment of any of the Plaintiffs as a class representative, and this Stipulation shall not be used or

considered in any way in connection with class certification or class representation.

          10.    No Admission of Wrongdoing

          10.1   This Stipulation, whether or not consummated, and any negotiations, discussions, or

proceedings in connection herewith shall not be:

                     (a)     offered or received against any Defendant as evidence of or construed as

     or deemed to be evidence of any presumption, concession, or admission by any Defendant of the

     truth of any allegations by any of the Plaintiffs or the validity of any claim that has been or could

     have been asserted in the Litigation, or the deficiency of any defense that has been or could have

     been asserted in the Litigation, or of any liability, negligence, fault, or wrongdoing of the

     Defendants;

                     (b)     offered or received against any Defendant as evidence of or construed as

     or deemed to be evidence of any presumption, concession, or admission by any Defendant that

     any damages were suffered by Plaintiffs, the Settlement Class, or anyone else;

                     (c)     offered or received against any Defendant as evidence of a presumption,

     concession, admission of any fault, misrepresentation, or omission with respect to any statement

     or written document approved or made by any Defendant, or against Lead Plaintiffs or any

     Settlement Class Member as evidence of any infirmity in the claims of Lead Plaintiffs and the

     Settlement Class;

                     (d)     offered or received against any Defendant as evidence of a presumption,

     concession, or admission of any liability, negligence, fault, or wrongdoing, or in any way

     referred to for any other reason as against any of the parties to this Stipulation, in any other civil,
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     criminal, or administrative action or proceeding, other than such proceedings as may be

     necessary to effectuate the provisions of this Stipulation; provided, however, that if this

     Stipulation is approved by the Court, Defendants and their Related Parties may refer to it to

     effectuate the releases granted them hereunder; or

                    (e)     construed against Defendants, Lead Plaintiffs, or the Settlement Class as

     an admission or concession that the consideration to be given hereunder represents the amount

     which could be or would have been recovered after trial.

          11.    Miscellaneous Provisions

          11.1   The Settling Parties (a) acknowledge that it is their intent to consummate this

agreement; and (b) agree to cooperate to the extent reasonably necessary to effectuate and implement

all terms and conditions of the Stipulation and to exercise their best efforts to accomplish the

foregoing terms and conditions of the Stipulation.

          11.2   This Stipulation, the Exhibits attached hereto, and the Supplemental Agreement

constitute the entire agreement between the Settling Parties as to the subject matter hereof and

supersede any prior or contemporaneous written or oral agreements or understandings between the

Settling Parties. No representations, warranties, or inducements have been made to any party

concerning the Stipulation, its Exhibits, or the Supplemental Agreement, other than the

representations, warranties, and covenants contained and memorialized in such documents.

          11.3   Except as otherwise provided for herein, each party shall bear his, her or its own

costs.

          11.4   The Settling Parties intend this Settlement to be a final and complete resolution of all

disputes between them with respect to the Litigation. The Settlement compromises all claims that

were contested and shall not be deemed an admission by any Settling Party as to the merits of any

claim or defense. The Order and Final Judgment will contain a statement that, during the course of
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the Litigation, the Settling Parties and their respective counsel at all times complied with the

requirements of Federal Rule of Civil Procedure 11. The Settling Parties agree that the Settlement

Amount and the other terms of the Settlement were negotiated in good faith by the Settling Parties

and reflect a settlement that was reached voluntarily after consultation with competent legal counsel.

The Settling Parties reserve their right to rebut, in a manner that such party determines to be

appropriate, any contention made in any public forum that the Litigation was brought or defended in

bad faith or without a reasonable basis.

          11.5   Defendants and/or their Related Parties may file the Stipulation and/or the Order and

Final Judgment in any action that may be brought against them in order to support a defense, claim,

or counterclaim based on principles of res judicata, collateral estoppel, release and discharge, good

faith settlement, judgment bar or reduction, or any other theory of claim preclusion or issue

preclusion or similar defense or counterclaim. Plaintiffs understand, acknowledge, and agree that

Defendants have denied and continue to deny all claims of wrongdoing, liability, and damages

alleged in the Litigation.

          11.6   Except as otherwise provided for herein, all agreements made and orders entered

during the course of the Litigation relating to the confidentiality of information shall survive this

Stipulation.

          11.7   All of the Exhibits to the Stipulation are material and integral parts hereof and are

fully incorporated herein by this reference.

          11.8   The Stipulation may be amended or modified only by a written instrument signed by

or on behalf of all Settling Parties or their respective successors-in-interest.

          11.9   Lead Counsel, on behalf of the Settlement Class, are expressly authorized by Lead

Plaintiffs to take all appropriate action required or permitted to be taken by the Settlement Class



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pursuant to the Stipulation to effectuate its terms and also are expressly authorized to enter into any

modifications or amendments to the Stipulation on behalf of the Settlement Class which Lead

Counsel deems appropriate.

          11.10 Each counsel or other person executing the Stipulation or any of its Exhibits on behalf

of any party hereto hereby warrants that such person has the full authority to do so.

          11.11 The Stipulation may be executed in one or more counterparts. All executed

counterparts and each of them shall be deemed to be one and the same instrument. A complete set of

original executed counterparts shall be filed with the Court.

          11.12 The Stipulation shall be binding upon, and inure to the benefit of, the successors and

assigns of the Settling Parties.

          11.13 With the exception of the matters expressly declared subject to mediation in Section

11.14, the Court shall retain jurisdiction with respect to implementation and enforcement of the

terms of the Stipulation, and the Settling Parties submit to the jurisdiction of the Court for purposes

of implementing and enforcing the Settlement embodied in the Stipulation.

          11.14 Any claim or dispute among the parties arising out of, relating to, or in connection

with the interpretation or implementation of the terms of the Stipulation shall be presented initially

for mediation before Jed Melnick, Esq. (JAMS), or such other mediator upon whom the parties shall

mutually agree. The parties participating in a mediation shall pay an equal share of the mediator’s

fees. If the mediator certifies that the Parties have participated in mediation in good faith but have

been unable to resolve their disputes, the Parties then retain all their rights to present any issues to

the Court as provided for in the Federal Rules of Civil Procedure.




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          11.15 The waiver by one party of any breach of this Stipulation by any other party shall not

be deemed a waiver by any other party or a waiver of any other prior or subsequent breach of this

Stipulation.

          11.16 The Stipulation and the Exhibits attached hereto shall be considered to have been

negotiated, executed, and delivered, and to be wholly performed, in the State of New York, and the

rights and obligations of the parties to the Stipulation shall be construed and enforced in accordance

with, and governed by, the internal, substantive laws of the State of New York without giving effect

to that State’s choice-of-law principles.

          11.17 The headings herein are used for the purpose of convenience only and are not meant

to have legal effect.

          11.18 This Stipulation shall not be construed more strictly against one party than another

merely by virtue of the fact that it, or any part of it, may have been prepared by counsel for one of

the Settling Parties, it being recognized that it is the result of arm’s-length negotiations between the

Settling Parties and the Settling Parties have contributed substantially and materially to the

preparation of this Stipulation.

          11.19 This Stipulation supersedes the Memorandum of Understanding dated May 1, 2018.




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                                             DA VIS POLK & WARD WELL LLP

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